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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                                     No. 22-CR-1322-JCH

ADAM ROBERT MANN,

                       Defendant.


                          MOTION TO DETERMINE COUNSEL
                        (For Ruling Before the U.S. Magistrate Judge)

       Assistant Federal Public Defender Emily P. Carey respectfully moves this Court to enter

an Order allowing her to withdraw from representation of Mr. Adam Robert Mann and to appoint

new counsel in this case. Assistant United States Attorney Paul Mysliwiec takes no position on

this motion. As grounds for this request, counsel states the following:

       1.      Mr. Mann is charged by Indictment with two counts of being a felon in possession

of a firearm in violation of 18 U.S.C. §§ 922(g)(1) and 924. (Doc. 15).

       2.      Mr. Mann was arrested on July 15, 2022 and brought to the Court for his initial

appearance. (Doc. 4). The Court appointed undersigned counsel that same day. (Doc. 9).

       3.      Following a preliminary and detention hearing on July 18, 2022, the Court entered

an Order of Detention (Doc. 13) remanding Mr. Mann to the custody of the U.S. Marshals pending

resolution of his case. Mr. Mann has since then been held in custody at the Cibola County

Correctional Center.

       4.      Trial is currently set for April 17, 2023. (Doc. 28).




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        5.      On November 10, 2022, due to increasingly concerning communication difficulties

with Mr. Mann, counsel filed a Motion for a Hearing to Determine Counsel. (Doc. 23). At the

time, counsel was unable to ascertain whether Mr. Mann was displeased with counsel’s

representation, whether he was struggling with his mental health, or whether there was some other

issue resulting in his reluctance to come to attorney visits and participate in his defense. (Doc. 23).

        6.      The Court held a hearing on that Motion on November 16, 2022. (Doc. 25). At the

conclusion of that hearing, Mr. Mann and the Court determined that the communication issues did

not arise from concerns about representation and undersigned counsel continued representing Mr.

Mann.

        7.      However, Mr. Mann has subsequently indicated that he has lost confidence in

counsel, is dissatisfied with counsel’s representation, and requests that this Court appoint him new

counsel.

        8.      Counsel asserts that grounds exist under N.M.R.A. 16-116(B) for withdrawal, as

counsel believes the relationship with her client has deteriorated to the point where counsel cannot

effectively represent and advise Mr. Mann.

        9.      Presently, there has been a breakdown of communication, and Mr. Mann has lost

confidence in the ability of undersigned counsel to represent him to the conclusion of this case.

        10.     Of courtesy, counsel contacted Assistant United States Attorney Paul Mysliwiec,

who takes no position on this matter.

        WHEREFORE, counsel respectfully requests that this Court enter an order allowing the

Office of the Federal Public Defender to withdraw as appointed counsel for Mr. Adam Robert

Mann. Further, counsel requests that the Court appoint another attorney to represent Mr. Mann as

soon as possible.



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                           Respectfully Submitted,

                           FEDERAL PUBLIC DEFENDER
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                           Albuquerque, NM 87102
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                           Electronically filed January 17, 2023
                           /s/ Emily P. Carey
                           Assistant Federal Public Defender




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